VERDICT FORM

1. Do you find that Class Plaintiffs have proved by a preponderance of the evidence
that a conspiracy existed to follow and enforce the Cooperative Compensation Rule in the
subject MLSs during the conspiracy period alleged in this case — April 29, 2015 through June

30, 20227

YES x NO

if your answer to Question I is “Yes”, proceed to Question 2. If your answer to Question 1 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.

2. Do you find that the conspiracy set forth in Question 1 had the purpose or effect of

raising, inflating, or stabilizing broker commission rates paid by home sellers?
YES _X NO-

if your answer to Question 2 is “Yes”, proceed to Question 3. If your answer to Question 2 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.

3, Which of the following corporations or entities do you find knowingly and

voluntarily joined the conspiracy set forth in Question 1 with the purpose of furthering its goals?

National Association of Realtors YES * NO
HomeServices of America, Inc, YES % NO
BHH Affiliates, LLC YES NO

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HSF Affiliates, LLC YES <x NO

Keller Williams Realty, Inc. YES x NO
Anywhere Real Estate, Inc. YES < -NO
RE/MAX LLC YES x NO

4, Do you find that the conspiracy set forth in Question 1 caused the Class Plaintiffs
to pay more for real estate brokerage services when selling their homes than they would have

paid absent that conspiracy?

yes NO

If your answer to Question 4 is “Yes”, proceed to Question 5 If your answer to Question 4 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.

5, State the amount of damages proved by the Class Plamtiffs.

§ Ve7GEs 20, G74.

Please sign and date indicating that you unanimously agree on the above responses.

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